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11
                          UNITED STATES DISTRICT COURT
12
           CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
13
14
     LODESTAR ANSTALT, a Liechtenstein           Case No. 2:16-cv-06411-CAS-FFMx
15   company,
16                                               DEFENDANTS’ REPLY IN
                         Plaintiff,              SUPPORT OF MOTION FOR
17                                               SUMMARY JUDGMENT
           v.
18                                               Date: June 17, 2019
     BACARDI & COMPANY LIMITED, a                Time: 10:00 a.m.
19   Liechtenstein company, BACARDI
     U.S.A., Inc., a Delaware corporation, and   Judge: Hon. Cristina A. Snyder
20   BACARDI LIMITED, a Bermuda                  Place: Courtroom 8D
     company,
21                                               REDACTED VERSION OF
                                                 DOCUMENT PROPOSED TO BE
22                       Defendants.             FILED UNDER SEAL
23
24    AND RELATED COUNTERCLAIMS.
25
26
27
28

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 1   I.     INTRODUCTION
 2          A review of the undisputed evidence makes clear that Defendants’ motion for
 3   summary judgment should be granted. Plaintiff has not proffered evidence sufficient
 4   to support its claims. The majority of its allegations rely solely on unsupported, self-
 5   interested declarations of its Chairman, Andre Levy. This is insufficient to avoid
 6   summary judgment. First, Plaintiff must prove it owns prior rights in the mark it
 7   claims was infringed. Plaintiff has withdrawn its claim for infringement of the
 8   UNTAMED DESIGN and now claims only infringement of the stylized UNTAMED
 9   WORD MARK. Since it cannot prove use of the UNTAMED WORD MARK in U.S.
10   commerce until after Defendants’ alleged infringing ad campaign, Plaintiff asks this
11   Court to find that its use of the UNTAMED DESIGN supports the prior trademark
12   rights necessary to allege infringement of the entirely different UNTAMED WORD
13   MARK. In sum, Plaintiff asks this Court to consider the UNTAMED DESIGN to
14   support its prior trademark rights, yet ignore it with respect to the likelihood of
15   confusion analysis because the UNTAMED DESIGN is so clearly different in
16   appearance from the BACARDI UNTAMEABLE SINCE 1862 tagline. There is no
17   basis for this in the law.
18          Plaintiff relies heavily upon its trademark registration for the UNTAMED
19   WORD MARK, claiming that once issued, its “constructive use date” confers rights
20   that are absolute unless proven “abandoned” by clear and convincing evidence.
21   Plaintiff ignores that this registration, which was issued based upon a foreign
22   registration without proof of use, provides only a rebuttable presumption of its rights
23   in the mark. Here, Defendants have rebutted this presumption by demonstrating that
24   Plaintiff had not commenced bona fide trademark use of the UNTAMED WORD
25   MARK in U.S. commerce necessary to sustain the trademark registration prior to the
26   first use of the tagline BACARDI UNTAMEABLE SINCE 1862. Prior to the launch
27   of the BACARDI Ad Campaign, the only product sold in the U.S. was WILD GEESE
28   branded whiskey, which bore the UNTAMED DESIGN in an ornamental fashion on

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 1   bottles.1 Even if such use constituted bona fide trademark use of UNTAMED
 2   DESIGN, it does not confer Plaintiff with the necessary trademark rights in the
 3   UNTAMED WORD MARK prior to use of the BACARDI Ad Campaign because the
 4   UNTAMED WORD MARK is materially different from the UNTAMED DESIGN
 5   and was only used after the Defendants’ alleged infringement. Given that Plaintiff did
 6   not even commence bona fide trademark use of the UNTAMED WORD MARK prior
 7   to Defendants’ alleged infringement, an analysis as to whether it later abandoned the
 8   mark is not even necessary.2 Second, even if Plaintiff could demonstrate prior rights
 9   in the UNTAMED WORD MARK, there is no evidence that Plaintiff’s customers
10   were likely to be confused into believing that its products were associated with the
11   BACARDI Ad Campaign or BACARDI branded products. A comparison of the way
12   consumers actually encountered the BACARDI Ad Campaign, and Plaintiff’s alleged
13   products makes clear that no rational juror could find a likelihood of confusion. A
14   properly designed survey conducted by Defendants’ expert using appropriate stimuli
15   that reflected market realities confirms the same. Finally, even if there were a
16   likelihood of confusion, there is no evidence in the record that Lodestar suffered any
17   injury or that Defendants’ alleged infringement was willful.
18   II.   SUMMARY JUDGMENT OF ALL CLAIMS IS WARRANTED
19         A.     PLAINTIFF MADE NO BONA FIDE USE OF THE UNTAMED
                  MARKS BEFORE THE BACARDI AD CAMPAIGN
20
           As set forth in Defendants’ opening brief, Plaintiff never made bona fide use
21
     of the UNTAMED MARKS in U.S. commerce before the launch of the BACARDI
22
     Ad Campaign.3 First, Lodestar does not cite to any evidence of its own bona fide
23
24
     1
       Plaintiff’s lack of use is evident because it submitted images of the UNTAMED
25   DESIGN to the USPTO, not use of the UNTAMED WORD MARK to maintain its
     registration. The USPTO’s erroneous acceptance of this specimen of use, which does
26   not even include “Untamed” in the same stylization as registered, is not binding on
     the issue of bona fide use of the UNTAMED WORD MARK in commerce.
27   2
       Nevertheless, Defendants argue abandonment in the alternative.
     3
       Plaintiff deliberately uses misleading terms to refer to its Wild Geese branded
28

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 1   trademark use in U.S. commerce that would preclude summary judgment. Rather, it
 2   cites alleged “use” by third-party Avalon, but Lodestar submits no evidence sufficient
 3   to prove that it had a valid license with Avalon for use of the UNTAMED MARKS.
 4   As such, any sale of the Wild Geese and Untamed Revolutionary Rum products in the
 5   U.S. by Avalon cannot be deemed to inure to the benefit of Lodestar, and cannot
 6   support its trademark rights or registrations. Dep’t of Parks & Rec. v. Bazaar Del
 7   Mundo, Inc., 448 F.3d 1118, 1130 (9th Cir. 2006); McCarthy § 18:45.50.
 8         Second, even if there were a valid license, none of the activity described in
 9   Plaintiff’s brief constitutes bona fide trademark use of the UNTAMED WORD
10   MARK in U.S. commerce prior to the launch of the BACARDI Ad Campaign in
11   November 2013, or the date of presumptive abandonment on October 4, 2014, even
12   when viewed in the “totality of the circumstances.”
13    Plaintiff’s Alleged Use
14    • April 2009: Over 1500 cases of   UNTAMED WORD MARK has never
        Wild Geese branded whiskey       appeared on any bottle of whiskey sold by
15      are “sold into” the U.S.         Plaintiff in the U.S. (Def. SUF 49, 101).
                                         Merely importing product does not
16    • January 2010: Over 2100          constitute bona fide use in commerce
        cases of Wild Geese branded      because here there is no evidence that, as of
17      whiskey are “sold into” the U.S. that date, the products were available for
                                         sale in the U.S. (Dkt. 299 at 7:9-12).
18    • September/October 2012:          Mere advertisements do not constitute use in
        Lodestar publishes ads in        commerce and there is no evidence that U.S.
19      Moodie Report and TR             consumers even saw the ads because TR
        Business advertising Lodestar’s Business and Moodie Report are
20      Wild Geese branded rum.          international trade publications, not
                                         consumer-facing publications. See
21                                       Powermatics, Inc. v. Globe Roofing
22
     products (such as UNTAMED Premium Rum and UNTAMED Golden Rum to refer
23   to the WILD GEESE branded rums), and improperly highlights portions of product
     labels, in an attempt to distract the Court from the fact that it never branded product
24   with any UNTAMED WORD MARK until after the launch of the BACARDI Ad
     Campaign, and never sold any products to distributors for U.S. sale until after the
25   presumptive abandonment expired. All of the evidence in the record shows the
     products are: THE WILD GEESE SOLDIERS & HEROES Premium Rum and THE
26   WILD GEESE SOLDIERS & HEROES Golden Rum and that these products did not
     display UNTAMED in a predominant manner on the labels. Even Plaintiff’s
27   “Chairman”
                                                                      (See, e.g., Lynch Reply
28   Decl., Ex. 1 at 130:1-3, 146:23-25, 155:1-2, 481:19-24; see also Dkt. 300-2, Ex. F).

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 1                                            Products Co., 52 C.C.P.A. 950, 954 (1965);
                                              McCarthy § 16:29. (Dkt. 299 at 6:7-10, n.4).
 2
         • October 9-10, 2012: Lodestar       Use in Germany is irrelevant to demonstrate
 3         alleges it advertises, promotes,   use in U.S. commerce. There is also no
           and sells its Wild Geese           record of sales at the industry-facing event
 4         branded rum products at the Bar    and mere advertisements do not constitute
           Convent Berlin.                    use in commerce. (Dkt. 299 at 6:7-10, n4).
 5
         • February 14, 2013-March 1,         There is no evidence that, as of this date, the
 6         2013: U.S. Alcohol and             labels were affixed to products that were
           Tobacco Tax and Trade Bureau       available for sale in the U.S. In fact, it is not
 7         (TTB) issues and approves          possible to legally sell alcoholic beverages
           certificate of label application   in the U.S. until after the labels are
 8         (COLA) for Lodestar’s Wild         approved. See 27 U.S.C. § 205(e).
           Geese Premium Rum and Wild
 9         Geese Golden Rum for U.S.
10       • April 15-21, 2013: Lodestar        Mere advertisements do not constitute use in
           provides rum tasting of Wild       commerce and there is no evidence that
11         Geese branded rum and seeks        Plaintiff took any purchase orders at the
           U.S. distributors at the Rum       purported trade show. In re Siny Corp., 920
12         Renaissance4 Trade Show in         F.3d 1331, 1336 (Fed. Cir. 2019); TMEP §
           Miami, FL.                         904.04(b). Merely “exposing products” to
13                                            consumers and displaying them does not
                                              constitute bona fide use in commerce where
14                                            the products were not available for sale.5 See
                                              Exhibit H to Mr. Levy’s declaration in
15                                            opposition to Defendants’ motion makes
                                              clear Plaintiff was not even close to
16                                            selecting distributors to solicit to sell the
                                              rum product in the U.S. as of April 22, 2013.
17                                            Two months later, Lodestar affirmatively 6
                                              decided not to sell rum in the U.S. market.
18                                            (Dkt. 299 at 1:16-21).
19
20
     4
        Plaintiff’s contention that “Bacardi representatives, including Facundo Bacardi,
21   attended   the show” is false. (See Evid. Obj. No. 26).
     5
       Chance v. Pac-Tel Teletrac Inc., 242 F.3d 1151 (9th Cir. 2001), is not to the contrary.
22   There, the court held the plaintiff could not establish priority of use based on a national
     post card advertising mailer because “[w]hile the mailing may have been some
23   evidence of a commercial intent when it was mailed” the plaintiff failed to establish
     that  it “genuinely continued to exploit the mark.” Id. at 1160.
24   6
       In the face of documentary evidence, Lodestar weakly submits the unsupported, self-
     interested, years-after-the-fact declaration of its own Chairman, Mr. Levy, who states
25   that he “overruled” Mr. Smart’s decision. As there is no contemporaneous evidence
     in the record to support Mr. Levy’s declaration, it does not create a genuine issue of
26   fact. Anderson v. Jackson, No. CV 04-2649 CAS (JWJx), 2006 U.S. Dist. LEXIS
     103218, at *22 (C.D. Cal. Aug. 30, 2006) (J. Snyder) (a conclusory, self-serving
27   affidavit, lacking detailed facts and any supporting evidence, is insufficient to create
     a genuine issue of material fact).
28

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 1       • June 6-7, 2013/August 15,          Providing unsolicited free samples does not
           2013/December 3, 2013: Third       constitute trademark use in commerce. See
 2         party importer MHW, Inc. ships     TAO Licensing, LLC v. Bender Consulting
           a total of 8 bottles Wild Geese    Ltd., 125 U.S.P.Q. 2d 1043, 1055, 2017 WL
 3         branded Premium and Golden         6336243 (T.T.A.B. 2017) (providing free
           Rums to 3 separate distributors    samples not bona fide use); ZAZU Designs
 4         in the U.S.                        v. L’Oreal S.A., 979 F.2d 499, 505 (7th Cir.
                                              1992) (providing samples is a “pre-
 5                                            marketing maneuver” that is “insufficient to
                                              establish rights in a trademark”).7 (Dkt. 299
 6                                            at 7:15-23).
 7       • March 5, 2014: TTB                 There is no evidence that, as of this date, the
           issues/approves COLA for           labels were affixed to products that were
 8         Untamed Revolutionary Rum          available for sale in the U.S. In fact, it is not
                                              possible to legally sell alcoholic beverages
 9                                            in the U.S. until after the labels are
                                              approved. See 27 U.S.C. § 205(e).
10
         • April 11, 2014: Lodestar “sells    Merely importing and warehousing product
11         into” the U.S. 2000 cases of       in the U.S. does not constitute bona fide use
           Untamed Revolutionary Rum.         in commerce because there is no evidence
12                                            that, as of that date, the products were
         • August 25, 2014: Lodestar          available for sale in the U.S. See, e.g.,
13         sells into the U.S. 419 cases of   Brookfield, 174 F.3d at 1052 (bona fide use
           Wild Geese Premium Rum.            requires that marks be used “in a way
14                                            sufficiently public to identify or distinguish
                                              the marked goods in an appropriate segment
15                                            of the public mind as those of the adopter of
                                              the mark”). See also Dkt. 299 at 7:9-12.
16                                            Plaintiff admits that the vast majority of
                                              those products remained “in bond” and
17                                            unavailable for sale until Plaintiff paid
                                              federal excise tax on them. (Dkt. 299, Exs.
18                                            2, 3; 281-2 at 20 n.6). No sale to distributors
                                              until January 2015. (SUF 44).
19
         • August 6, 2014: MHW sends    Providing free samples does not constitute
20         three sample bottles of the  trademark use in commerce. (See infra; Dkt.
           Untamed Revolutionary Rum to 299 at 7:15-23).
21         a distributor.
22            Plaintiff’s contention that sales of Wild Geese branded whiskey since 2009
23   constitutes bona fide use of the “UNTAMED design/word mark” is wrong. There is
24
25   7
       Plaintiff’s reliance on Grant Time Corp. v. Watch Factory Corp. for the proposition
26   that samples constitute trademark use is misplaced. 2011 WL 2412960 *6 (N.D. Tex.
     June 10, 2011). There, the shipments at issue were not samples at all—but actual sales
27   in which the plaintiff received over $500.00. In any event, even if the samples at issue
     constituted trademark use in commerce it would still not negate abandonment here
28   because there is no evidence that Avalon or Protégé—let alone Lodestar—even knew
     or directed that third-party importer MHW ship these unsolicited samples.
                                                 5
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 1   no evidence that the UNTAMED WORD MARK has ever appeared on any bottle of
 2   whiskey sold by Plaintiff in the U.S. (Def. SUF 49, 101). The USPTO “accepting” an
 3   image of the bottle label for Wild Geese whiskey as a valid specimen for the
 4   UNTAMED WORD MARK (Dkt. 300 at 2 n.1) is unavailing. A USPTO decision
 5   regarding the continued use of a trademark is not binding authority and does not
 6   constitute undisputed proof of use in commerce. Moroccanoil, Inc. v. Marc Anthony
 7   Cosmetics, Inc., 57 F. Supp. 3d 1203, 1218 (C.D. Cal. 2014). Lodestar cites no
 8   authority to the contrary.8
 9         Since there is no proof it ever used the UNTAMED WORD MARK in U.S.
10   commerce prior to the BACARDI Ad Campaign, Plaintiff essentially asks this Court
11   to find it has priority of rights in the UNTAMED WORD MARK based solely on its
12   prior sale of WILD GEESE branded whiskey, which bore the distinctly different
13   UNTAMED DESIGN. Courts use “exceedingly strict” standards to determine
14   whether a trademark holder may “tack” its first use date in an earlier used mark9 to a
15   different mark used later. Such tacking should be allowed only “if two marks are so
16   similar that consumers generally would regard them as essentially the same.”
17   Brookfield, 174 F.3d at 1048 (rejecting tacking priority of “The Movie Buff’s Movie
18   Store” to “MOVIEBUFF.COM” where trademark owner did not show consumers
19   view the terms as identical); see also Am. Paging, Inc. v. Am. Mobilphone, Inc., 13
20   U.S.P.Q.2D (BNA) 2036, 2039 (T.T.A.B. Nov. 15, 1989); Pro-Cuts v. Schilz-Price
21   Enters., 27 U.S.P.Q.2D (BNA) 1224, 1227 (T.T.A.B. June 1, 1993). Here, Plaintiff
22   admits that the UNTAMED DESIGN is materially different from the UNTAMED
23   WORD MARK (by abandoning its infringement claim of the UNTAMED DESIGN)
24
25   8
       While a specimen of use submitted to the USPTO need not be identical to the
26   registered mark to constitute use of that mark, it must “create essentially the same
     commercial impression.” TMEP §1604.13. Here, the fact that Lodestar had no sample
27   use
     9
         of the UNTAMED WORD MARK to submit to the USPTO proves the point.
       As set forth in Defendants’ opening brief, such use of the UNTAMED DESIGN was
28   merely ornamental and did not even constitute bona fide trademark use in commerce.
     (Dkt. 295 at 8:16-9:6).
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 1   and Plaintiff has proffered no evidence that consumers view the marks as identical.
 2   Plaintiff’s own marketing expert opined that the UNTAMED DESIGN makes a
 3   different commercial impression on consumers than the UNTAMED WORD MARK.
 4   (Dkt. 289-33 at ¶ 10). Thus, even if use of the UNTAMED DESIGN on Wild Geese
 5   brand whiskey constitutes trademark use, the Court should not allow Plaintiff to rely
 6   on such use to support a claim of infringement of the UNTAMED WORD MARK.
 7         Lodestar claims “[i]t is irrelevant if actual use occurred before, after, or during
 8   Bacardi’s first use in November 2013” because it owned a trademark registration for
 9   the mark UNTAMED that it claims gives it “the absolute right to use its mark as it
10   sees fit” including to “combat” infringing use. This argument misses the point, as it
11   incorrectly assumes that Plaintiff had use of the UNTAMED WORD MARK in
12   commerce to support the registration before the alleged infringement. The priority
13   date, as well as any presumptions afforded to Plaintiff’s trademark registrations, are
14   nothing more than rebuttable presumptions.10 Kleven v. Hereford, No. CV 13-02783-
15   AB (AGRx), 2015 U.S. Dist. LEXIS 111185, *67 (C.D. Cal. Aug. 21, 2015). Where,
16   as here, the evidence shows that Plaintiff never made bona fide trademark use in
17   commerce necessary to support the registration prior to the alleged infringing use,
18   such presumptions are rebutted. For example, in Teal Bay Alls., LLC v. Southbound
19   One, Inc., No. MJG-13-2180, 2015 U.S. Dist. LEXIS 10940, at *29-34 (D. Md. Jan.
20   26, 2015), the court found that defendant rebutted the presumption of prior rights
21   afforded by plaintiff’s U.S. trademark registration by demonstrating that as of
22   defendant’s first use in commerce, plaintiff’s use of the mark was merely ornamental
23   and did not constitute bona fide trademark use in commerce, even though plaintiff
24   eventually made trademark use of the mark after defendant commenced its use.
25
26   10
        Plaintiff’s contention that “Bacardi would not cite or rely on Reardon… unless
27   ‘UNTAMED’ and ‘UNTAMEABLE’ are legally equivalent” is absurd. Defendants’
     cite Reardon for the proposition that legitimate use in commerce—not registration—
28   is the source of trademark rights in the U.S. Moreover, contesting Plaintiff’s prior
     rights necessary to assert infringement is not an admission that infringement exists.
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 1         Lodestar’s suggestion that the Madrid Protocol affords it a five year grace
 2   period to commence use in commerce is also wrong. “While use as a mark in the
 3   United States is not required to obtain a Madrid Protocol extension of protection under
 4   § 66(a), use is required within a reasonable time or the protection is subject to
 5   cancellation for abandonment.” McCarthy § 19:31.60 (emphasis added);
 6   SaddleSprings, Inc. v. Mad Croc Brands, Inc., Cancellation No. 92055493, at 9
 7   (T.T.A.B., Sept. 25, 2012).11 Plaintiff’s own authority confirms a “registrant must use
 8   the registered mark in commerce in order to avoid abandonments of its registrations.”
 9   Dragon Bleu (SARL) v. VENM, LLC, 112 U.S.P.Q.2d 1925, 1930 (T.T.A.B. 2014).
10         Plaintiff’s efforts to produce and sell a rum product branded “Untamed
11   Revolutionary Rum” only after the launch of the BACARDI Ad Campaign also does
12   not constitute bona fide trademark use. It is undisputed that Untamed Revolutionary
13   Rum did not ship to any retailers in the U.S. until January 2015, long after the
14   abandonment period expired. Plaintiff’s creation of a new product after the launch of
15   the BACARDI Ad Campaign, with labels that bore no resemblance to its existing line
16   of “award winning” rum and whiskey products, was clearly a bad faith effort to
17   manufacture a basis for litigation and cannot sustain a valid infringement claim.
18   Indeed, Plaintiff admits the product was manufactured “to combat Bacardi.” (Dkt. 300
19   at 9:2-4). This cannot be accepted as bona fide use in commerce.12
20
21
22   11
        A party need not wait three years to challenge the mark for nonuse. If, at any time
     after registration, a party can prove that a registrant is not using and has no intention
23   to resume use of the mark, the registration may be cancelled on the basis of nonuse.
     See e.g., ShutEmDown Sports, Inc. v. Carl Dean Lacy, Cancellation No. 92/049,692,
24   at 26-27 (T.T.A.B. Feb. 22, 2012) (citing precedents).
     12
        It would be inequitable to allow a party to manufacture entirely new use of a
25   trademark after an alleged infringement to make it closer to the alleged infringing use
     to claim it was injured by the alleged confusion it deliberately attempted to create
26   after defendant commenced use. To hold otherwise would negate the bona fide use in
     commerce requirement by permitting plaintiffs to maintain registrations not for the
27   proper purpose of identifying the source of legitimate products but solely for the
     purpose of filing lawsuits.
28

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 1         B.     THERE IS NO LIKELIHOOD OF CONFUSION13
 2           Lodestar has not provided “sufficient evidence to permit a rational trier of fact
 3   to find that confusion is ‘probable,’ not merely ‘possible’” and that Defendants’ use
 4   of the mark was “likely to confuse an appreciable number of people as the source of
 5   the product” See M2 Software, Inc. v. Madacy Ent., 421 F.3d 1073, 1080 (9th Cir.
 6   2005).14 In the absence of any factual evidence supporting a likelihood of confusion,
 7   Plaintiff offers an “expert linguist” to opine that the words “untamed” and
 8   “untameable” are similar. Because the linguist admittedly did not compare the marks
 9   at issue in their entirety as they appear in the marketplace, this opinion is completely
10   irrelevant to the likelihood of confusion analysis and should be stricken from the
11   record. Even if he had properly compared the marks at issue, a linguistic analysis is
12   still entirely improper to assess how a reasonably prudent consumer would perceive
13   the marks in the marketplace and cannot prevent summary judgment to the contrary.
14   (See Dkt. 295 at 12 n.15; 298-2 at 14 n.16).
15                1.     The UNTAMED WORD MARK Is Weak
16           Plaintiff argues, based on the opinion of an “expert linguist,” who admittedly
17   did not consider any typical uses of the words in the context of alcoholic beverages,
18   that the UNTAMED WORD MARK has only an arbitrary connection to the goods to
19   which it refers. (Dkt. 281-2 at 11:12-14). This opinion is contrary to the evidence in
20   the record demonstrating that the term “untamed” (and variants thereof) are frequently
21   used to describe or suggest a characteristic or quality of alcoholic beverages. (Dkt.
22   298-2 at 14:9-15:14). The UNTAMED mark is therefore “suggestive” of alcoholic
23
24   13
        Lodestar represents “it intend[s] to move forward on the infringement claims
     relating only to the ‘239 Registration for the UNTAMED word mark.” (Dkt. 281-2 at
25   7:26-28 n. 1). Thus, the Court should grant summary judgment in Defendants’ favor
     on  all claims relating to the ‘238 Registration for the UNTAMED DESIGN.
26   14
        Plaintiff incorrectly states that the Dreamwerks court found three of the Sleekcraft
     factors “pivotal” in all reverse confusion cases. (Dkt. 281-2 at 10:8). This Circuit
27   considers all the factors. See Cohn v. Petsmart, Inc., 281 F.3d 837, 841 (9th Cir.
     2002); Glow Indus., Inc. v. Lopez, 252 F. Supp. 2d 962, 987-1004 (C.D. Cal. 2002).
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 1   beverages and not considered “strong” without a showing of “significant marketplace
 2   recognition” that is not supported by this record. See Core Nutritionals, LLC v.
 3   Performance Nutrition Formulators, LLC, No 16-CV-705 TJH, 2016 WL 9088702,
 4   at *2 (C.D. Cal. Sept. 28, 2016).
 5           Even if Plaintiff could prove that the UNTAMED WORD MARK is arbitrary,
 6   the mark would still be conceptually weak because at least 28 other alcohol products,15
 7   including whiskey, use the term “untamed.” (Dkt. 289 Exs. 35-36; 298-2 at 14:24-
 8   15:5). Indeed, Plaintiff’s reliance on Patron Spirits Int’l v. Peter W. Noyes only
 9   confirms that evidence of extensive use of a term by others “can be powerful evidence
10   of weakness.” 2016 WL 7010641, at *6 (T.T.A.B. 2016) (not precedential). Plaintiff’s
11   argument that the mere registration of the mark deems it “strong” for purposes of a
12   likelihood of confusion analysis is wrong. The Zobmondo Entm’t, LLC v. Falls Media,
13   LLC case relied on by Lodestar specifically notes that “[f]ederal registration in itself
14   does not mean that [registrant] can necessarily survive summary judgment solely on
15   the basis of its registration,” and found a genuine issue of material fact as to whether
16   the registered mark at issue was distinctive. 602 F.3d 1108, 1113-20 (9th Cir. 2010).
17   (quotations and citations omitted).
18                2.     The Parties’ Respective Uses in the Marketplace are Different
19         Plaintiff improperly compares only a portion of the parties’ respective marks,
20   without considering the ways consumers encountered them in the marketplace. (Dkt.
21   281-2 at 12-13). “[E]ven identical marks may be readily distinguishable in light of
22   other packaging or promotional material affecting the context in which they are
23
     15
24       This extensive evidence is not “unauthenticated hearsay” (Dkt. 300 at 15:9-10) as
     it is not being offered for the truth of the matters asserted (i.e. that Lady Bligh rum is
25   “spirited and untamed”) but to illustrate such extensive third-party use of the term
     “untamed.” The documents can be authenticated under Rule 901 because the sworn
26   declaration states that the documents were obtained from online sources at Mr.
     Lynch’s direction and the documents contain “circumstantial indicia of authenticity
27   (such as the dates and web addresses)” that would support a reasonable juror in the
     belief that the documents are what Defendants say they are. Perfect 10, Inc. v.
28   Cybernet Ventures, Inc., 213 F. Supp. 2d 1146, 1154 (C.D. Cal. 2002); see also 5
     Federal Rules of Evidence Manual § PT4.04 (2019).
                                                 10
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 1   encountered.” Isle of Capri, 2016 U.S. Dist. LEXIS 152203 at *14-15 (J. Snyder).
 2   The opinion of Plaintiff’s linguistic expert, who admittedly compared only the words
 3   “untamed” and “untameable” in isolation has no evidentiary value. This expert
 4   conceded: “[y]ou don’t need any analysis at all to find that [BACARDI
 5   UNTAMEABLE] is something different [than UNTAMED].” (Def. SUF 54). As
 6   shown below, the parties’ marks as they appear in the marketplace are neither
 7   identical nor confusingly similar:
 8    Lodestar’s Alleged Use Before
                                                 BACARDI Ad Campaign
      the BACARDI Ad Campaign
 9                                        (Representative Images) (Dkt. 299, Ex. 19)
            (Dkt. 299, Ex. 20)
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17    Wild Geese Classic Blend Whiskey

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24
         Wild Geese Limited Edition
25               Whiskey

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       Wild Geese Single Malt Whisky
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15                               See Exhibit 6, a CD-ROM containing the
       Wild Geese Rare Irish Whiskey
                                 “Bacardi Untameable Since 1862” television
16
                                 commercial, which was produced in this action
17                               under Bates number BUSA0000265.
18         The BACARDI brand used “Bacardi Untameable Since 1862” only as an
19   advertising tagline alongside the BACARDI brand’s bat logo in ads that were
20   disseminated on nationwide tv, outdoor, print, and digital/mobile executions. (Def.
21   SUF 63, 100). The tagline was not used on any BACARDI products. Plaintiff used
22   the UNTAMED DESIGN only ornamentally on whiskey labels that predominately
23   displayed its Wild Geese brand name before the BACARDI Ad Campaign. A year
24   after the BACARDI Ad Campaign, Plaintiff commenced sale of rum in the U.S. that
25   used the UNTAMED WORD MARK in advertising copy on the back of rum bottles
26   and a small quantity of rum branded Untamed Revolutionary Rum that it admittedly
27   created to “combat Bacardi.” (Def. SUF 27).
28         Lodestar’s contention that “[c]ourts routinely hold that use of a famous house

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 1   mark in connection with a non-descriptive mark aggravates the likelihood of
 2   confusion” false and contradicted by the authority Plaintiff cites. See Americana
 3   Trading, Inc. v. Russ Berrie & Co., 966 F.2d 1284, 1287 (9th Cir. 1992) (both parties
 4   agreed the mark at issue was descriptive). Lodestar’s further contention that
 5   Defendants rely only on cases where “a famous mark is used with a descriptive mark”
 6   is also false. In Moose Creek, Inc. v. Abercrombie & Fitch Co., the marks were
 7   deemed arbitrary and the Court still held the defendant’s use of its famous house
 8   mark would likely mitigate reverse confusion. 331 F. Supp. 2d 1214, 1223 (C.D. Cal.
 9   2004); and in Behr Process Corp. v. RPM Int’l, Inc., the mark was deemed
10   “distinctive” and the Court held defendant’s use of its house mark “ha[d] the potential
11   to reduce or eliminate the likelihood of confusion.” No. CV 14-156-JLS (DFMx),
12   2014 U.S. Dist. LEXIS 195349, *8 (C.D. Cal. Feb. 14. 2014).
13         Lodestar’s attempt to distinguish Cohn v. Petsmart is unavailing. 281 F.3d 837,
14   842 (9th Cir. 2002). First, the court in Petsmart noted that it was an “unusual case”
15   because it found no likelihood of confusion “even though the parties use the same
16   mark for similar goods and services.” Id. at 843. Thus, the facts in Petsmart were even
17   more favorable for the plaintiff than the facts here and the court still found no
18   likelihood of confusion. Second, Lodestar’s contention that it “does not use any
19   business name in connection with UNTAMED, which makes Petsmart inapplicable”
20   is false. All products Plaintiff allegedly offered for sale in the U.S. before the
21   BACARDI Ad Campaign are branded prominently with Wild Geese. Even the label
22   for Untamed Revolutionary Rum, which was concocted for purposes of this litigation
23   after the launch of the BACARDI Ad Campaign, reads: “PART OF THE AVALON
24   GROUP’S… WILD GEESE SOLDIERS & HEROES COLLECTION.” (Dkt. 300-3,
25   Ex. I p. 42). Moreover, Defendant’s use of the famous house mark BACARDI as the
26   first element of the Bacardi Untameable Since 1862 tagline would still easily
27   distinguish the tagline from the UNTAMED WORD MARK. (Dkt. 198-2 at 18:9-17).
28   Plaintiff’s own linguistic expert concedes: “‘Bacardi’ is obvious[ly] a very

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 1   longstanding mark and doesn’t need my analysis” and that BACARDI “is also a very
 2   well-established brand.” (Dkt. 299, Ex. 7 (Leonard Tr. 36:9-14)).
 3         Plaintiff’s claim that Bacardi U.S.A. allegedly “used [the word] ‘untamed’
 4   when referring to its UNTAMEABLE campaign on social media” (Dkt. 300 at 16:3-
 5   5) is false. The social media examples presented by Plaintiff merely show the word
 6   “untamed” used to describe people at a music festival. Moreover, these social media
 7   posts are unauthenticated hearsay and should not be considered. Plaintiff’s claim that
 8   Bacardi “admitted that UNTAMED is shorthand for UNTAMEABLE” is also false.16
 9         As set forth in Defendants’ Opposition, Plaintiff’s claim that there is
10   “substantial evidence that consumers associate the [term] UNTAMED with the
11   [BACARDI] UNTAMEABLE campaign” based solely on a selection of inadmissible,
12   anonymous social media posts cherry picked by its linguistic expert, Dr. Leonard, is
13   false and neither relevant to the confusion analysis, nor supported by any credible
14   evidence. (See Dkt. 298-2 at 19:9-20:18).
15                3.    The Parties’ Products Are Not Similar
16         As set forth in Defendant’s opening brief, rum and whiskey are different
17   products and are distinguishable. (Dkt. No. 295 at 12:21-13:17; 298-2 at 20:19-21:1).
18   Plaintiff has presented no evidence that the products are similar.
19                4.    There is No Evidence of Actual Confusion
20         Lodestar admits that it is unaware of any U.S. consumers who have been
21   confused as to the source of its products. (Def. SUF 55-59). Where, as here, the marks
22   allegedly co-existed for years, this weighs against a likelihood of confusion. (Dkt.
23   289-1 13:23-14:6). The results of a consumer survey conducted by Defendants’ expert
24   demonstrates that consumers who viewed the BACARDI Ad Campaign did not
25   believe that Plaintiff’s alleged products were made by, affiliated or associated with,
26
27   16
         Redlien testified: “I can’t recall anything being untamed. I mean, the campaign
28   was Bacardi Untameable Since 1862. Like, in general, people may try to shorthand
     it, but the campaign was Bacardi Untameable Since 1862.” (Dkt. 299, Ex. 5).
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 1   or received a license from the company that released the ad. (Def. SUF 75).
 2         The anonymous social media posts admittedly cherry-picked by Plaintiff’s
 3   expert without any reliable methodology do not even demonstrate any legally
 4   cognizable actual consumer confusion on their face. To find actual reverse confusion,
 5   the evidence must show that prospective consumers of Plaintiff’s products incorrectly
 6   believe that Plaintiff’s product is associated with the BACARDI brand or products.
 7   See Walter v. Mattel, Inc., 31 F. Supp. 2d 751, 760 (C.D. Cal. 1998). These
 8   anonymous social media posts make no mention of Plaintiff or its products. There is
 9   no evidence that the posters had even heard of Plaintiff or the purported UNTAMED
10   MARKS—let alone were confused as to an affiliation with the BACARDI brand or
11   BACARDI Ad Campaign.
12         Plaintiff’s purported likelihood of confusion survey should also be disregarded
13   as unreliable. (See Dkt. 299-22 at ¶¶ 9, 12-13). As set forth in Defendants’ Opposition,
14   a litigation survey must replicate marketplace conditions—that is, the real world
15   conditions under which a typical consumer might encounter a product in the
16   marketplace.17 (Dkt. 298-2 at 22:1-19).
17                5.     The Parties’ Marketing Channels Are Different
18         As set forth in Defendant’s opening brief, the parties’ marketing channels are
19   different. (Dkt. 295 at 14:16-15:6). Lodestar’s argument that “Bacardi . . . markets its
20   rum on social media and online” fails. The mere fact that two companies have an
21   online presence is insufficient to show overlapping marketing channels. Network
22   Automation, 638 F.3d at 1151; Isle of Capri, 2016 U.S. Dist. LEXIS 152203 at *19.
23   That both parties’ products are sold at liquor stores is also irrelevant because the
24   “Untameable” was not used as a product name or on bottles or packaging. Thus, a
25   consumer would never encounter Plaintiff’s purported products and the “Bacardi
26   Untameable Since 1862” tagline in proximity to each other.
27
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28     Plaintiff’s claim that Scott’s survey is “unrebutted” is false. See Butler Decl. (Dkt.
     299-22) and Butler’s conflicting survey results. (Dkt. 289-50).
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 1                6.     Consumers Exercise Care in Buying Alcoholic Beverages
 2         As set forth in Defendant’s opening brief, purchasers of alcoholic beverages
 3   tend to exercise a high degree of care when making their purchasing decisions. (Dkt.
 4   295 at 15:7-12). The cases cited by Plaintiff merely demonstrate that confusion
 5   necessarily depends on the context where consumers will encounter the marks in
 6   question. Moreover, in all of those cases, the use of the respective marks on product
 7   labels and in product names contributed to the findings of confusion. Here, the alleged
 8   infringing mark was not used as a product name or on bottles or packaging, which
 9   dispels any chance of confusion. In addition, Plaintiff claims its brand “is a premium
10   alcoholic product line” and that its newest products are “super-premium,” which
11   would suggest an upscale consumer with a high degree of sophistication and care.
12   (Dkt. 281-2 at 3:25, 22:9-11).
13                7.     Defendants’ Mark Was Selected in Good Faith
14         As set forth in Defendant’s opening brief, there is no evidence that either the
15   outside ad agency that came up with the “Bacardi Untameable Since 1862” tagline,
16   or the Defendants or their affiliates were even aware of Lodestar or its purported
17   UNTAMED MARKS when they selected the BACARDI UNTAMEABLE [Since
18   1862] mark, let alone any evidence that they selected that mark with an intent to cause
19   consumer confusion. Plaintiff’s claim that “infringement is willful when a junior user
20   had knowledge of the senior users’ mark” is not even relevant to the issue of
21   likelihood of confusion; it is relevant to the issue of monetary remedies. Regardless,
22   even if Lodestar could demonstrate “actual knowledge,” mere knowledge is
23   insufficient to establish willfulness. (Dkt. 295 at 15:13-16:26; 298-2 at 23:17-25:9).
24         Plaintiff’s reliance on Bellagio Jewelry, Inc. v. Croton Watch Co. is misplaced.
25   No. CV 06-6672 ODW (RZx), 2008 U.S. Dist. LEXIS 130262, at *26 (C.D. Cal. Aug.
26   19, 2008). In Bellagio, the court found that the parties’ identical marks, both used on
27   watches, were confusingly similar and that defendant’s conduct became willful only
28   after it received a cease-and-desist letter that contained sufficient information for the

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 1   defendant to verify that plaintiff’s identical mark was registered for use on identical
 2   goods. Here, Plaintiff alleges only that its U.S. trademark registration (and other third
 3   party registrations) appeared on a trademark search report produced by Bacardi & Co.
 4   This alone is insufficient to establish willfulness—particularly where, as here, the
 5   parties’ marks are not identical; Bacardi never branded product with the mark; and
 6   Plaintiff’s use prior to the BACARDI Ad Campaign was limited to ornamental use of
 7   the UNTAMED DESIGN on whiskey. Am. Auto. Ass’n, 367 F. Supp. 3d at 1103; M2
 8   Software Inc. v. Viacom Inc., 223 F. App’x 654, 653 (9th Cir. 2007).
 9                8.     There is No Likelihood of Further Expansion
10          As set forth in Defendant’s opening brief, courts do not consider expansion
11   efforts after a party files suit. (Dkt. No. 295 at 16:27-17:9; 298-2 at 25:10-18).
12   Plaintiff does not dispute that this factor supports Defendants.
13   III.   LODESTAR IS NOT ENTITLED TO MONETARY RELIEF18
14          A.    LODESTAR CANNOT ESTABLISH THAT IT SUFFERED AN
                  INJURY AS A RESULT OF DEFENDANTS’ ALLEGED
15                INFRINGEMENT
16          Lodestar does not dispute that to recover damages under the Lanham Act, it
17   “must prove both the fact and the amount of damage” with “reasonable certainty.”
18   Lindy Pen Co. v. Bic Pen Corp., 982 F.2d 1400, 1407 (9th Cir. 1993) (abrogated on
19   other grounds). Instead, Lodestar argues that it has met this burden by proving “actual
20   confusion” through the expert report of Dr. Carol Scott. (Dkt. 303-1 at 21:6-11). Dr.
21   Scott’s report, however, does not even purport to determine the existence of actual
22   confusion; she claims to assess only the reliability of the survey conducted by
23   Defendants’ expert. (Dkt. 289-33 at ¶ 5). In any event, Dr. Scott’s survey does not
24   serve as a reliable basis on which to measure confusion in the marketplace, and
25
26
     18
       Lodestar states that it is “not seeking damages under a disgorgement theory” (Dkt.
27   303-1 at 25 n.3), and does not contest Defendants’ motion with respect to Lodestar’s
     claims for monetary relief under California law. Summary judgment on those claims
28   should therefore be granted in Defendants’ favor.

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 1   Lodestar admitted that it was unaware of any U.S. consumers who had been confused
 2   as to the source of its products. (SUF 55-59).
 3         Even if Lodestar could prove actual consumer confusion, Lodestar does not
 4   dispute that any injury arising from such confusion would have been borne by Avalon
 5   (the alleged exclusive licensee of the UNTAMED MARKS), not by Lodestar (
 6                                                                                 ). See Blau
 7   v. YMI Jeaswear, Inc., No. CV 02 09551 FMC SHSX, 2004 WL 5313967, at *3 (C.D.
 8   Cal. Jan. 2, 2004) (denying damages to trademark owner whose revenue was not tied
 9   to the value of the mark under the license agreement). Indeed, in Sands, Taylor &
10   Wood v. Quaker Oats Co., which Lodestar describes as the “seminal” reasonable
11   royalties case (Dkt. 303-1 at 18:15-17), the court awarded royalties to the exclusive
12   licensor of the trademark, not the owner. 34 F.3d 1340, 1345 n.4 (7th Cir. 1994).
13   Because Lodestar cannot demonstrate that it suffered any injury as a result of
14   Defendants’ alleged infringement, it is not entitled to damages as a matter of law.
15         B.     LODESTAR IS NOT ENTITLED TO REASONABLE
                  ROYALTIES
16
                  1.     Lodestar Cannot Demonstrate a Reliable Basis on Which to
17                       Calculate a Reasonable Royalty Rate
18         Lodestar does not dispute that reasonable royalties are appropriate only where
19   “the evidence provides a sufficiently reliable basis from which to calculate them.”
20   (Dkt. 303-1 at 18:28-19:1). Nor does Lodestar dispute that courts have found such
21   “sufficiently reliable bas[e]s” only where: (1) the parties had a prior trademark license
22   agreement; (2) the parties had previously negotiated a trademark license or purchase
23   agreement; or (3) the plaintiff had previously licensed trademarks to unaffiliated third
24   parties. (SUF 114). Indeed, the cases that Lodestar cites only confirm these
25   requirements.19 Here, it is undisputed that: (1) the parties do not have any prior license
26
27   19
       See Sands, 34 F.3d at 1343 (plaintiff had previously licensed the mark a third
     party); Bauer Bros., LLC v. Nike, Inc., 159 F. Supp. 3d 1202, 1209, 1214 (S.D. Cal.
28

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 1   agreements; (2) the parties have never negotiated the license or purchase of any
 2   trademark; and (3) Lodestar has never licensed the UNTAMED MARKS to an
 3   unaffiliated third party. (SUF 114).
 4         Lodestar’s reliance on Defendants’ alleged “history of acquiring smaller
 5   alcohol brands” (Dkt. 303-1 at 20:27) is inappropriate. None of those acquisitions
 6   mirrors the type of hypothetical trademark license that Lodestar is proposing as the
 7   basis for its reasonable royalty award, nor is there any evidence to suggest that any of
 8   those acquisitions even involved the payment of royalties. (Lynch Reply Decl., Ex. 2
 9   at 68:12-17; Ex. 3 at 182:6-184:8). In any event, Ninth Circuit courts look to the prior
10   licensing activities of the plaintiff, not the defendant, in determining whether there is
11   a reliable basis on which to calculate reasonable royalties.
12         The opinions proffered by Lodestar’s industry expert, Sidney Blum, and its
13   damages expert, Dr. Barbara Luna, do not alter this analysis. Mr. Blum, who opined
14   that, based on his alleged “licensing experience in the alcohol industry . . . it is
15   common for larger international alcohol companies . . . to obtain rights to smaller
16   alcohol companies” (Dkt. 303-1 at 20:18-20) conceded that: (1) that “opinion” is not
17   an opinion at all, but merely a “statement of fact”; (2) he did not examine the facts of
18   this case, and therefore has no opinion as to whether it would be reasonable to assume
19   that Defendants would have been willing to license or acquire the rights to the
20   UNTAMED MARKS; (3) his alleged “licensing experience” involved merely auditing
21   Diageo’s existing royalty agreements to confirm compliance with payment
22   obligations, not determining whether to enter into those agreements or setting the
23   terms of those agreements; and (4) the Diageo agreements that he audited were not
24
25   2016) (plaintiff had previously licensed marks to third parties and defendant had
     offered to pay plaintiff for the right to use the marks at issue); QS Wholesale, Inc. v.
26   World Mktg., Inc., No. SA 12-CV-0451 RNBX, 2013 WL 1953719, at *5 (C.D. Cal.
     May 9, 2013) (parties had previously engaged in negotiations for the purchase of the
27   mark); adidas America, Inc. v. Payless Shoesource, Inc., No. CV 01-1655-KI, 2008
     WL 429812, at *12 (D. Ore. Sept. 12, 2008) (plaintiff had previously entered into
28   trademark royalty agreements with third parties).

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 1   even comparable to Lodestar’s proposed hypothetical agreement with Defendant;
 2   they involved circumstances where Diageo licensed out its trademarks for use on
 3   consumer goods. (Lynch Reply Decl., Ex. 3, passim). Moreover, even if Lodestar
 4   could prove that large alcohol companies “sometimes” acquire smaller alcohol
 5   companies (Id. at 159:1-9), this fact is irrelevant—the mere existence of third-party
 6   license agreements in the relevant industry does not provide a “sufficiently reliable
 7   basis” on which to calculate a reasonable royalty rate. While Mr. Blum identifies one
 8   actual agreement—a 2012 agreement between Diageo and Beams International with
 9   an alleged royalty rate of “4% to 5% of net sales” (Dkt. 300-5 ¶ 56)—that agreement
10   is not comparable to the hypothetical negotiation here because it allegedly involved
11   the licensing out of Diageo’s trademarks. (Lynch Reply Decl., Ex. 3 at 248:18-25).
12   Moreover, Mr. Blum did not produce a copy of that alleged agreement despite
13   Defendants’ subpoena demand, nor any other evidence to prove either the existence
14   of that agreement or the alleged royalty rate. (Id. at 247:13-248:17).
15         In addition, the “starting hypothetical royalty rate” that Mr. Blum identified is
16   untethered to the facts of this case, and based merely on data from a 2016 third-party
17   survey, in which experts were asked to opine on appropriate royalty rate ranges for
18   different categories of agreements. (Id. at 222:17-25, 225:21-25, 256:12-14, 258:3-
19   10, 270:1-7); Ex. 4 at 71:8-73:2)). Because that data is not even based on actual
20   license agreements, it is impossible to determine whether the circumstances giving
21   rise to those purported royalty rates are comparable to the facts of this case. (Lynch
22   Reply Decl., Ex. 3 at 269:12-270:7; Ex. 5 ¶¶ 37-42; Ex. 4 at 71:8-73:2)).20
23         Dr. Luna also failed to establish any reliable basis on which to calculate a
24
25   20
       Mr. Blum also cited “csimarket.com,” which purports to show profit margins in the
26   alcohol industry, but conceded that he does not know, and has made no effort to
     determine, whether that is a source on which experts in his field rely. (Lynch Decl.,
27   Ex. 3 (Blum Dep. 232:18-233:14)). He also conceded that he did not even understand
     much of that data—including the data that he explicitly referenced in his report. (Id.
28   (Blum Dep. 238:16-239:9, 241:1-242:4, 244:9-245:10)). In any event, it is unclear
     whether and how this data affected his opinions. (Dkt. 303-1-5 ¶ 53).
                                               20
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 1   reasonable royalty.
 2
 3
 4
 5                     (Lynch Reply Decl., Ex. 2 at 189:15-22; 191:19-192:1; Ex. 1 at
 6   455:21-459:2)). Dr. Luna’s reliance on what she claims are “comparable” third-party
 7   licenses is also improper because: (1) those licenses are not comparable on their
 8   face21; and (2) even if they were, Lodestar does not identify a single case where a
 9   court has held that unrelated, third-party agreements can provide a “sufficiently
10   reliable basis” on which to calculate a reasonable royalty rate.
11                2.     Lodestar Cannot Establish That Any Portion of Defendants’
                         Sales Was Attributable to the Alleged Infringement
12
           Lodestar concedes that it is entitled to seek a reasonably royalty only “on
13
     [Defendants’] net sales in the U.S. that have been realized through [Defendants’] use
14
     of the [BACARDI] UNTAMEABLE mark.” (Dkt. 303-1 at 18:10-12) (emphasis
15
     added). Thus, even if Lodestar could establish a reasonable rate on which to calculate
16
     royalties, it is entitled to apply that rate only to the portion of Defendants’ sales
17
     attributable to the alleged infringement. In Sands, for example, the court applied a
18
     reasonable royalty rate to the defendant’s sales “during the period of infringement
19
     (minus the pre-infringement sales level).” 34 F.3d at 1345 (emphasis added). Here,
20
     Lodestar has undertaken no effort to demonstrate what portion of Defendants’ sales,
21
22   21
        The agreements are not comparable because they are either: (1) for the use of
23   alcohol brand names on consumer goods; (2) for the use of iconic names; (3) granting
     rights other than trademark licenses; or (4) between related parties. (Lynch Decl., Ex.
24   5 ¶¶ 55- 61, Ex. 2).
                                                                                    (Lynch
25   Decl., Ex. 2 (Luna Dep. 65:22-66:10, 216:7-22, 222:1-223:3, 223:17-21)). This court
     previously granted the defendant’s request to exclude Dr. Luna’s testimony regarding
26   royalty rates on this very basis. Man Mach. Interface Techs., LLC v. Vizio, Inc., No.
     SACV100634AGMLGX, 2012 WL 13014967, at *8 (C.D. Cal. Feb. 27, 2012)
27   (finding Luna’s royalty rate computation “unreliable” because she relied on
     agreements that were “easily distinguishable from any hypothetical licensing
28   agreement that [the parties] may have entered,” and she conceded: “that is the best I
     could find.”) (emphasis added).
                                                21
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 1   if any, was attributable to the Bacardi Ad Campaign. Nor could the Court estimate
 2   that amount by subtracting Defendants’ pre-infringement sales levels from its sales
 3   during the infringement period (as the court did in Sands)
 4                                                                   . (SUF 109).
 5         Lodestar argues that royalties are not unwarranted merely because Defendants’
 6   “did not receive the benefit that [they] intended when [they] adopted the infringing
 7   mark” (Dkt. 303-1 at 22:21), but this mischaracterizes Defendants’ position and the
 8   controlling law. A plaintiff is not entitled to royalties on hypothetical sales that the
 9   defendant purportedly predicted at the time of the alleged infringement—it is entitled
10   to royalties on sales that the defendant actually made as a result of the infringement.
11   Tokidoki, LLC v. Fortune Dynamic, Inc., No. CV 07-1923DSF(PJWX), 2009 WL
12   2366439, at *14 (C.D. Cal. July 28, 2009); Computer Access Tech. Corp. v. Catallyst
13   Enters., Inc., 273 F. Supp. 2d 1063, 1077 (N.D. Cal. 2002); Color me Mine Enters.
14   Inc. v. S. States Mktg. Inc., No. CV 12-00860 RGK-(JCx), 2013 WL 12119715, at *8
15   (C.D. Cal. Apr. 25, 2013)22; Sands, 34 F.3d at 1345. Because Lodestar cannot
16   demonstrate that any sales were made as a result of the alleged infringement, it is not
17   entitled to reasonable royalties as a matter of law.
18         C.     LODESTAR IS NOT ENTITLED TO CORRECTIVE
                  ADVERTISING DAMAGES BECAUSE IT CANNOT
19                ESTABLISH THAT THE GOODWILL ASSOCIATED WITH
                  THE UNTAMED MARKS WAS “ACTUALLY DIMINISHED”
20                BY DEFENDANTS’ CONDUCT
21
22   22
        Lodestar claims that in Tokidoki, the plaintiff’s witness “testified that the plaintiff
23   does not and would not license the mark at issue”; that in Color Me Mine, the plaintiff
     did not “provide sufficient evidence that both sides were willing to accept a licensing
24   agreement,” or that “it had previously entered into similar types of licensing
     agreements”; and that in Computer Access, the court found the damages calculation
25   speculative because the plaintiff “did not distinguish between damages caused by
     trademark infringement, as opposed to [defendant’s] lawful use of the design[.]” (Dkt.
26   303-1 at 21:12-22:9). Here too, there is no objective evidence that Lodestar ever
     entered into a trademark license with an unaffiliated third-party or would have been
27   willing to enter into one with Defendants; there is no evidence that Defendants ever
     entered into a trademark license or would have been willing to enter into one with
28   Lodestar; and Lodestar has not identified the portion of Defendants’ sales attributable
     to the alleged infringement, making any damages award speculative.
                                                 22
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 1         As Lodestar acknowledges, the purpose of corrective advertising is to “restore
 2   the value of a trademark.” (Dkt. 303-1 at 23:8-9). Thus, corrective advertising
 3   damages are permitted only where there is “‘non-speculative evidence’ that the
 4   goodwill associated with the plaintiff’s mark has actually been diminished by the
 5   defendant’s conduct.” Int’l Oddities v. Record, No. CV 12-3934-CAS VBKX, 2013
 6   WL 3864050, at *14 (C.D. Cal. July 22, 2013 (J. Snyder). While “uncertainty as to
 7   the amount of damages is not fatal,” the plaintiff must prove “the foundational fact
 8   that its mark lost value at all.” Quia Corp. v. Mattel, Inc., No. C 10-1902 JF HRL,
 9   2011 WL 2749576, at *6 (N.D. Cal. July 14, 2011).
10         Lodestar claims that it “has been harmed” because: (1) “Lodestar’s consumer
11   survey results . . . demonstrate evidence of actual confusion”; (2) “consumers now
12   associate the ‘Bacardi’ mark with UNTAMEABLE and UNTAMED”; (3) because
13   Lodestar’s alleged “business model is to develop brands and trademarks to be licensed
14   or sold,” the alleged “consumer confusion” has “destroyed the potential licensing
15   value” of the UNTAMED MARKS; and (4) Lodestar allegedly spent $5.54 million to
16   “develop and promote” the UNTAMED MARKS. (Dkt. 303-1 at 23:24-24:6). These
17   allegations are unsupported and insufficient to defeat Defendants’ motion.
18         First, Lodestar’s survey expert did not make any findings as to the existence of
19   actual confusion, and did not even purport to conduct a survey designed to do so.
20   (Dkt. 289-33 at ¶ 10; 299-17 at 61:3-11). In any event, goodwill refers to “the
21   expectancy of continued patronage.” United States v. Mongol Nation, 370 F. Supp.
22   3d 1090, 1123 (C.D. Cal. 2019) (internal citation omitted); McCarthy § 2:17. Even if
23   Lodestar could prove a likelihood of confusion, which it cannot, that alone would not
24   demonstrate that the UNTAMED MARKS had any goodwill or lost any goodwill as
25   a result of Defendants’ alleged infringement.23 Second, because actual confusion
26
27   23
       Nor do Lodestar’s registrations demonstrate goodwill. Goodwill arises through use
28   in commerce, where the mark comes to “identify the total of all the imponderable
     qualities that attract customers to the business.” Mongol, 370 F. Supp. 3d at 1123.
                                              23
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 1   requires mistaken purchasing decisions, Lodestar would need to prove that consumers
 2   mistakenly believed that Lodestar’s alleged products were associated with the
 3   BACARDI brand, not that Lodestar’s alleged trademarks were associated with the
 4   BACARDI brand, and Lodestar has conceded that there is no such confusion. (Dkt.
 5   295 at 13-14 n.18; SUF 55-59). Third, there is no evidence in the record concerning
 6   Lodestar’s alleged “business model” or its purported intent to license the UNTAMED
 7   MARKS to a third party. (Dkt. 299-24 at No. 2) Finally, there is no evidence that
 8   Lodestar spent any money to develop or promote the UNTAMED MARKS or
 9   products bearing those marks. (See Dkt. 295 at 20 n.22; SUF 104-06). In any event,
10
11                                                         (SUF 103), the marks’ expected
12   value is irrelevant; the question is whether those marks actually possessed value at
13   the time of the alleged infringement and thereafter suffered a loss in value as a result
14   of that infringement.
15         D.     LODESTAR IS NOT ENTITLED TO ATTORNEYS FEES
                  BECAUSE IT CANNOT DEMONSTRATE THAT THIS CASE IS
16                “EXCEPTIONAL”
17         It is undisputed that attorneys’ fees are recoverable only in “exceptional” cases
18   (Dkt. 303-1 at 25:1), and that cases are “exceptional” only where the defendants’
19   conduct is willful and the court finds some “aggravating circumstances or heightened
20   level of culpability.” M2 Software, 223 F. App’x at 656; Anhing Corp. v. Thuan Phong
21   Co. Ltd., No. CV1305167BROMANX, 2016 WL 6661178, at *3 (C.D. Cal. Jan. 25,
22   2016). Lodestar claims that it would be “inappropriate” for the Court to deny
23   attorneys’ fees because Defendants allegedly: (1) “adopted a confusingly similar mark
24   on the same goods with actual knowledge of Lodestar’s federal trademark rights”;
25   and (2) “refused to produce the trademark search results or its profit information,
26   unnecessarily forcing Lodestar to have to file motions to compel.” (Dkt. 303-1 at 25:9-
27   20). These claims are unsupported and insufficient to defeat Defendants’ motion.
28         First, there is no evidence from which a reasonable factfinder could conclude

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 1   that Defendants had any knowledge of Lodestar or the UNTAMED MARKS when
 2   they selected the “Bacardi Untameable Since 1862” tagline (SUF 97), and, in fact,
 3   Lodestar acknowledges that it lacks any evidence of willful infringement by
 4   withdrawing its claim for a disgorgement of Defendants’ profits. (Dkt. 303-1 at 25
 5   n.3). Second, “actual knowledge” of a “confusingly similar mark” is insufficient to
 6   establish willfulness.24 (Dkt. 295 at 16:5-9). And third, there is no evidence that
 7   Defendants “refused to produce” either “the trademark search results” or their “profit
 8   information.” In both instances, Defendants produced the requested materials before
 9   the Court decided Lodestar’s motions to compel, thereby rendering those motions
10   moot. (Dkts. 179; 186; 192; 244; 248; 249; 269). In any event, Lodestar does not cite
11   any authority establishing that a motion to compel renders a case “exceptional.” In
12   fact, in its decision on Lodestar’s motion to compel the production of Defendants’
13   trademark search reports, the Court specified that “fees and costs associated with th[e]
14   motion should be born by the respective parties.” (Dkt. 269). Moreover, Defendants
15   have been forced to file multiple motions to compel against Lodestar—including a
16   successful motion to compel the production of Protégé’s documents, for which
17   Defendants had to hire local counsel in England and Switzerland to seek discovery
18   under the Hague Convention. (Dkt. 235). If anything, Defendants are entitled to
19   attorneys’ fees due to Lodestar’s systematic pattern of abusive discovery practices
20   that have vexatiously multiplied this litigation.
21   IV.   CONCLUSION
22           For the reasons stated above, the Court should grant Defendants’ motion for
23   summary judgment.
24
25
26
     24
27     Bellagio, 2008 U.S. Dist. LEXIS 130262, on which Lodestar relies, does not state
     otherwise. There, the court examined the defendants’ intent as part of its likelihood
28   of confusion analysis, not in determining whether attorneys’ fees were appropriate,
     and the facts of that case are distinguishable, as explained above. See supra, at 16-17.
                                                25
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 1    DATED: June 3, 2019                    Respectfully submitted,
                                             KELLEY DRYE & WARREN LLP
 2                                           Michael C. Lynch (pro hac vice)
 3
                                                By: /s/ Michael C. Lynch
 4                                                  Michael C. Lynch
                                                    Attorneys for Bacardi & Company
 5                                                  Limited, Bacardi U.S.A., Inc. and
                                                    Bacardi Limited
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